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                             UNITED STATES DISTRICT COURT
                                                      for the
                                           Central District of California

                    In the Matter of the Search of:                                    Case No. 2:20-MJ-00905
  Information associated with account identified as cellular telephone
   number (859) 429-7551, with usemame: "1ekan20083" and email
address: "lekan200@gmail.com," that is within the possession, custody,
                    or control of TEXTNOW INC.


                    APPLICATION FOR WARRANT PURSUANT TO 18 U.S.C. § 2703

       I, a federal law enforcement officer, request a warrant pursuant to Title 18, United States Code, Section
2703, and state under penalty of perjury that I have reason to believe that within the following data:
        See Attachment A
There are now concealed or contained the items described below:
        See Attachment B

        The basis for the search is:

        EI Evidence of a crime;
        El' Contraband, fruits of crime, or other items illegally possessed;
            Property designed for use, intended for use, or used in committing a crime.

        The search is related to a violation of:

      Code section(s)                                     Offense Description
18 U.S.C. § 875(c)                                        Threats by interstate communication


        The application is based on these facts:

        See attached Affidavit, which is incorporated herein by reference.


                                                                             Applicant's signature
                                                            Uriel I. Acosta, Special Agent
                                                                             Printed name and title
Sworn to before me and signed in my presence:

Date:
                                                                               Judge's signature
City and State: Santa Barbara, California                   Louise A. LaMothe, U.S. Magistrate Judge
                                                                             Printed name and title

AUSA: Brian R. Faerstein (213-894-3819)
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                              ATTACHMENT A

                        PROPERTY TO BE SEARCHED

     This warrant applies to information associated with the

cellular telephone number and account identified below (the

"SUBJECT ACCOUNT") that is within the possession, custody, or

control of TEXTNOW INC., a company that accepts service of legal

process at 420 Wes Graham Way, 2nd Floor, Waterloo, ON N2L 0J6,

c/o Corporation Services Company (CSC), 2710 Gateway Oaks Drive,

Suite 150N, Sacramento, CA 95833-3505, regardless of where such

information is stored, held, or maintained.

SUBJECT ACCOUNT

     1.    Cellular telephone number (859) 429-7551, assigned

           from February 21, 2020, at approximately 22:29:27 UTC,

           to February 26, 2020, at approximately 16:05:23 UTC,

           with username: "1ekan20083" and email address:

           "lekan200@gmail.com."
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                              ATTACHMENT B

                           ITEMS TO BE SEIZED

I.   SEARCH PROCEDURES

     1.    The warrant will be presented to personnel of TextNow

Inc. (the "PROVIDER"), who will be directed to isolate the

information described in Section II below.

     2.    To minimize any disruption of service to third

parties, the PROVIDER's employees and/or law enforcement

personnel trained in the operation of computers will create an

exact duplicate of the information described in Section II

below.

     3.    The PROVIDER's employees will provide in electronic

form the exact duplicate of the information described in Section

II below to the law enforcement personnel specified below in

Section IV.

     4.    With respect to contents of wire and electronic
communications produced by the PROVIDER (hereafter, "content

records," see Section II.10.a below), .law enforcement agents
and/or individuals assisting law enforcement and acting at their

direction (the "search team") will examine such content records

pursuant to search procedures specifically designed to identify
items to be seized under this warrant.        The search shall extract

and seize only the specific items to be seized under this

warrant (see Section III below).       The search team may use

forensic examination and searching tools, such as "EnCase" and

"FTK" (Forensic Tool Kit), which tools may use hashing and other
sophisticated techniques.      The review of the electronic data may
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be conducted by any government personnel assisting in the

investigation, who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney

support staff, and technical experts.        Pursuant to this warrant,

the investigating agency may deliver a complete copy of the

seized, copied, or disclosed electronic data to the custody and

control of attorneys for the government and their support staff

for their independent review.

     5.    If the search team encounters immediately apparent

contraband or other evidence of a crime outside the scope of the

items to be seized, the team shall immediately discontinue its

search pending further order of the Court and shall make and

retain notes detailing how the contraband or other evidence of a
crime was encountered, including how it was immediately apparent

contraband or evidence of a crime.

     6.    The search team will complete its search of the

content records as soon as is practicable but not to exceed 120

days from the date of receipt from the PROVIDER of the response

to this warrant.    The government will not search the content

records beyond this 120-day period without first obtaining an

extension of time order from the Court.

     7.    Once the search team has completed its review of the

content records and created copies of the items seized pursuant

to the warrant, the original production from the PROVIDER will

be sealed -- and preserved by the search team for authenticity

and chain of custody purposes -- until further order of the

Court.    Thereafter, the search team will not access the data


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from the sealed original production which fell outside the scope

of the items to be seized absent further order of the Court.
      8.   The special procedures relating to digital data found

in this warrant govern only the search of digital data pursuant

to the authority conferred by this warrant and do not apply to

any search of digital data pursuant to any other court order.

      9.   Pursuant to 18 U.S.C. § 2703(g) the presence of an

agent is not required for service or execution of this warrant.
II.   INFORMATION TO BE DISCLOSED BY THE PROVIDER

      10. To the extent that the information described in

Attachment A is within the possession, custody, or control of

the PROVIDER, regardless of whether such information is located

within or outside of the United States, including any
information that has been deleted but is still available to the

PROVIDER, or has been preserved pursuant to a request made under

18 U.S.C. § 2703(f), the PROVIDER is required to disclose the
following information to the government for the SUBJECT ACCOUNT

described in Attachment A:
           a.    All contents of all wire and electronic

communications associated with the SUBJECT ACCOUNT, limited to

that which occurred on or after February 21, 2020,1          including:

                 1.      All text messages, e-mails, voicemail




     1 To the extent it is not reasonably feasible for the
PROVIDER to restrict any categories of records based on this
date restriction (for example, because a date filter is not
available for such data), the PROVIDER shall disclose those
records in its possession at the time the warrant is served upon
it.

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messages, communications, or messages of any kind associated

with the SUBJECT ACCOUNT, including stored or preserved copies

of messages sent to and from the account, deleted messages, and

messages maintained in trash or any other folders or tags or

labels, as well as all header information associated with each

e-mail or message, and any related documents or attachments;

                         All records or other information stored by

subscriber(s) of the SUBJECT ACCOUNT, including address books,

contact and buddy lists, calendar data, pictures, videos, notes,

texts, links, user profiles, account settings, access logs, and

files; and

                         All records pertaining to communications

between the PROVIDER and any person regarding the SUBJECT

ACCOUNT, including contacts with support services and records of

actions taken.

           b.    All other records and information, including:

                 I.      All subscriber information, including the

date on which the account was created, the length of service,

the IP address used to register the account, the subscriber's

full name(s), screen name(s), any alternate names, other account

names or e-mail addresses associated with the account, linked

accounts, telephone numbers, physical addresses, and other

identifying information regarding the subscriber, including any

removed or changed names, email addresses, telephone numbers, or

physical addresses, the types of service utilized, account

status, account settings, login IP addresses associated with

session dates and times, as well as means and source of payment,


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including detailed billing records, and including any changes

made to any subscriber information       or services, including

specifically changes made to secondary e-mail accounts, phone

numbers, passwords, identity or address information, or types of

services used, and including the dates on which such changes

occurred, for the following accounts:

                      (I)         The SUBJECT ACCOUNT;

                      (II)        Any other account associated with

the SUBJECT ACCOUNT, including by means of sharing a common

secondary, recovery, or alternate e-mail address listed in

subscriber records    for the SUBJECT ACCOUNT or by means of

sharing a common phone number or SMS number listed in subscriber

records    for the SUBJECT ACCOUNT, and any account that lists the

SUBJECT ACCOUNT as a secondary, recovery, or alternate email

address;
                      (III)       Any other account accessed by a

device with an identifier responsive to the device identifiers
called for in paragraph 10.b.iii, below; and
                      (IV)        Any other account associated with

the cookie(s) associated with the SUBJECT ACCOUNT.
                         All user connection logs and transactional

information of all activity relating to the SUBJECT ACCOUNT

described above in Section II.10.a., including all log files,

dates, times, durations, data transfer volumes, methods of
connection, IP addresses, ports, routing information, dial-ups,

and locations, and including specifically the specific product

name or service to which the connection was made;
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                         Any information identifying the device or

devices used to access the SUBJECT ACCOUNT, including any

Android ID, Advertising ID, unique application number, hardware

model, operating system version, unique device identifier,

Global Unique identifier or "GUID," serial number, mobile,

network information, phone number, device serial number, MAC

address, Electronic Serial Number ("ESN"), Mobile Electronic

Identity Number ("MEIN"), Mobile Equipment Identifier ("MEID"),

Mobile Identification Number ("MIN"), Subscriber Identity Module

("SIM"), Mobile Subscriber Integrated Services Digital Network

Number ("MSISDN"), International Mobile Subscriber Identifier

("IMSI"), International Mobile Equipment Identity ("IMEI"), or

Apple advertiser ID or ID for advertisers ("IDEA"), or Google's

AAID or any other advertiser ID, and any other information

regarding the types of devices used to access the SUBJECT

ACCOUNT or Other device-specific information, including the

device type, brand name, device mode or operating system, and

first and last times that a device were observed;'
                 iv.     Any information showing the location of

the user of the SUBJECT ACCOUNT, including while sending or

receiving a message using the SUBJECT ACCOUNT or accessing or

logged into the SUBJECT ACCOUNT; and
                 v.      Any and all cookies used by any computer

or web browser associated with the SUBJECT ACCOUNT, including

the IP addresses, dates, and times associated with the

recognition of any such cookie.




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III. INFORMATION TO BE SEIZED BY THE GOVERNMENT

     11.   For the SUBJECT ACCOUNT described in Attachment A, the

search team may seize:
           a.    All information described above in Section

II.10.a. that constitutes evidence, contraband, fruits, or
instrumentalities of violations of 18 U.S.C. § 875(c) (threats

by interstate communication), namely:
                         Information relating to who created,

accessed, or used the SUBJECT ACCOUNT, including records about

their identities and whereabouts.
                         Information relating to the production or

dissemination of threatening communications, including threats

regarding homicide, murder-for-hire, extortion, or other threats

of violence.
                         Information relating to individuals

producing or disseminating threatening communicatoins, including

individuals associated with the username "1ekan20038" and email

address "lekan200@gmail.com."
                 iv.     Information relating to victims of

threatening communications..

                 v.      Information relating to the selection,

acquisition, possession, or use of other accounts or platforms,

including other phone numbers, email addresses,

telecommunication accounts, or social media accounts, to produce

or dissemenate threatening communications.

                 vi.     Information relating to the selection and

targeting of victims of threatening communications.


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                  vii.    Information relating to encrypting,

attempting to encrypt, or otherwise disguising the use of means

of communications to produce or disseminate threatening

communications.

                  viii.   Information relating to the identity

and/or location of co-conspirators in the production or

dissemination of threatening communications.

                  ix.     Information reflecting communications
between the SUBJECT ACCOUNT and Other potential co-conspirators

in the production or dissemination of threatening

communications.
           b.     All records and information described above in

Section II.10.b.

IV.   PROVIDER PROCEDURES

      12. IT IS ORDERED that the PROVIDER shall deliver the

information set forth in Section II within 10 days of the

service of this warrant.     The PROVIDER shall send such

information to:

           Special Agent Uriel I. Acosta
           FEDERAL BUREAU OF INVESTIGATION
           600 East Plaza Drive
           Santa Maria, California 93454
           Los Angeles Field Office
           Telephone: (310) 270-6207
           Facsimile: (805) 364-3315
           E-mail:    uacosta@fbi.gov

      13. IT IS FURTHER ORDERED that the PROVIDER shall provide

the name and contact information for all employees who conduct

the search and produce the records responsive to this warrant.

      14. IT IS FURTHER ORDERED, pursuant to 18 U.S.0 § 2705(b),


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that the PROVIDER shall not notify any person, including the

subscriber(s) of the SUBJECT ACCOUNT identified in Attachment A,
                                                                               1
of the existence of the warrant, until further order of the

Court, until written notice is provided by the United States

Attorney's Office that nondisclosure is no longer required, or

until one year from the date this warrant is signed by the

magistrate judge or such later date as may be set by the Court

upon application for an extension by the United States.           Upon

expiration of this order, at least ten business days prior to

disclosing the existence of the warrant, the PROVIDER shall

notify the agent identified in paragraph 12 above of its intent

to so notify.
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                                AFFIDAVIT

I, URIEL I. ACOSTA, being duly sworn, declare and state as

follows:

                           I.    INTRODUCTION
       1.   I am a Special Agent with the Federal Bureau of

Investigation ("FBI"), and have been so employed since May 2018.

I am currently assigned to the Santa Maria, California Resident

Agency, which is part of the Los Angeles Field Office of the

FBI.   Since graduating from the FBI Academy, my experience as an
FBI agent includes conducting.physical surveillance, debriefing

informants, and interviewing witnesses, subjects, and victims of

crimes, as well as executing search and arrest warrants.           I have

conducted searches and analysis of Internet Protocol (IP)

addresses to further investigations, and I have coordinated and

collaborated with other law enforcement officers and agencies in

ongoing investigations.

       2.   Prior to becoming a Special Agent with the FBI, I

worked for four years as a Special Agent with the Drug

Enforcement Administration ("DEA") in El Paso, Texas.          As a DEA

Special Agent, my experience included coordinating and leading

drug-related operations.      I earned a bachelor's degree in

Business Administration with Majors in Economics and

International Business in May 2006 from New Mexico State

University.

       3.   In addition, I have received both formal and informal

training from the FBI and other institutions regarding cyber-

related investigations and computer technology.         In connection
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with my work on the investigation described herein, I have

consulted with other FBI agents and an FBI Computer Scientist

with training and experience in investigations of computer,

cyber, and high-technology crimes, including computer

intrusions, access device fraud, and other types of malicious

computer activity.

     4.    I make this affidavit in support of an application for

a warrant for information that is stored at premises controlled
by TextNow Inc. ("TextNow" or the "PROVIDER"), a provider of

electronic communication and remote computing services,

headquartered at 420 Wes Graham Way, 2nd Floor, Waterloo, ON N2L

0J6, c/o Corporation Services Company (CSC), 2710 Gateway Oaks

Drive, Suite 150N, Sacramento, CA 95833-3505,1         associated with

the following TextNow phone number and account:

           a.    Cellular telephone number (859) 429-7551,

assigned from February 21, 2020, at approximately 22:29:27 UTC,
to February 26, 2020, at approximately 16:05:23 UTC, username:




     1  Because this Court has jurisdiction over the offense(s)
being investigated, it may issue the warrant to compel the
PROVIDER pursuant to 18 U.S.C. §§ 2703(a), (b)(1)(A), (c)(1)(A).
See 18 U.S.C. §§ 2703(a) ("A governmental entity may require the
disclosure by a provider . . . pursuant to a warrant issued
using the procedures described in the Federal Rules of Criminal
Procedure . . . by a court of competent jurisdiction") and 2711
("the term 'court of competent jurisdiction' includes -- (A) any
district court of the United States (including a magistrate
judge of such a court) or any United States court of appeals
that -- (i) has jurisdiction over the offense being
investigated; (ii) is in or for a district in which the provider
of a wire or electronic communication service is located or in
which the wire or electronic communications, records, or other
information are stored; or (iii) is acting on a request for
foreign assistance pursuant to section 3512 of this title").

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"1ekan20083" and email address: "lekan200@gmail.com" ("SUBJECT

ACCOUNT").

     5.      The information to be searched is described in

Attachment A.     This affidavit is made in support of an

application for a warrant under 18 U.S.C. §§ 2703(a),

2703(b)(1)(A), 2703(c)(1)(A) and 2703(d)2 to require the PROVIDER

to disclose to the government copies of the information

(including the content of communications) described in

Section II of Attachment B.      Upon receipt of the information

described in Section II of Attachment B, law enforcement agents

and/or individuals assisting law enforcement and acting at their

direction will review that information to locate the items

described in Section III of Attachment B.        Attachments A and B

are incorporated herein by reference.

     6.    As described more fully below, I respectfully submit

there is probable cause to believe that the information

associated with. the SUBJECT ACCOUNT constitutes evidence,



      2 The government is seeking non-content records pursuant to
.18 U.S.C. § 2703(d). To obtain the basic subscriber
 information, which does not contain content, the government
 needs only a subpoena. See 18 U.S.C.    2703(o)(1), (c)(2). To
 obtain additional records and other information--but not
 content--pertaining to subscribers of an electronic
 communications service or remote computing service, the
 government must comply with the dictates of section
 2703(c)(1)(B), which requires the government to supply specific
 and articulable facts showing that there are reasonable grounds
 to believe that the records or other information sought are
 relevant and material to an ongoing criminal investigation in
 order to obtain an order pursuant to 18 U.S.C. § 2703(d). The
 requested warrant calls for both records containing content (see
 Attachment B paragraph II.10.a.) as well as subscriber records
 and other records and information that do not contain content
 (see Attachment B paragraph II.10.b.).
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contraband, fruits, or instrumentalities of criminal violations

of federal law, including violations of 18 U.S.C. § 875(c)

(threats by interstate communication) (the "Subject Offenses").

     7.     The facts set forth in this affidavit are based upon

my personal observations, my training and experience, my

consultations with other law enforcement investigators with

training and experience in investigating computer, cyber, and

high-technology crimes, and information obtained from other

agents and witnesses.     This affidavit is intended to show merely

that there is sufficient probable cause for the requested

warrant and does not purport to set forth all of my knowledge of

OT investigation into this matter.       Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                         SUMMARY OF PROBABLE CAUSE

            The FBI is currently investigating a murder-for-hire

death threat that was sent via text message to a victim (the
"Victim") in San Luis Obispo County, California on February 21,

2020.     The Victim did not recognize the phone number associated

with the text message nor did the Victim know who sent the text
message.     The FBI ultimately determined that the phone number

was registered to TextNow.      The FBI further determined that, at

the time the text message threat was sent, the phone number was

being used by a user identified as "1ekan20083," i.e., the
SUBJECT ACCOUNT.     Through this search warrant application, the

FBI seeks to obtain additional information about the SUBJECT
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ACCOUNT in connection with the FBI's investigation of the

Subject Offenses.

                        BACKGROUND REGARDING TEXTNOW
     9.    Based on my training and experience, discussions with
other law enforcement investigators with knowledge about

computer, cyber, and high-technology crimes, and my review of

publicly-available information, I have learned the following

regarding TextNow:
           a.    TextNow is a telecommunications service

application similar to Skype that allows a user to send text

messages and make telephone calls over the Internet.          Among

other things, TextNow uses Voice-over Internet Protocol, or

"VoIP," to allow users to make calls and send text messages from

telephone numbers obtained from TextNow.        In certain cases,

TextNow provides these temporary telephone numbers for free, and

individuals can easily and frequently change the telephone

number on their account.     As a result, TextNow telephone numbers

may be assigned to accounts for limited duration.3          As noted

below, because TextNow provides temporary telephone numbers for

free, individuals can create and use those telephone numbers

when communicating with and targeting victims while hiding their

true identities.




     3  For this reason, the date and time ranges listed in this
warrant application reflect the date and time ranges that the
relevant phone number was assigned to the SUBJECT ACCOUNT.


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                        STATEMENT OF PROBABLE CAUSE

A.   Initial Report of Threat-to-Life Text Message Received
     February 21, 2020


     10. On February 21, 2020, at approximately 2:41 p.m. PST

(22:41 UTC), the Victim received a text message from the SUBJECT

ACCOUNT.     The Victim, who resides in San Luis Obispo County,

California, did not recognize the telephone number of the

SUBJECT ACCOUNT, which is a telephone number with an area code

based in Kentucky.

     11. The text message stated as follows:          "I am very sorry

for you [Victim's last name], is a pity that this is how your

life is going to end soon as you don't comply. As you can see

there is no need of introducing myself to you because I don't

have any business with you. My duty as I am mailing you now is

to KILL you and I have to do it as I have already been paid for

that."     The Victim did not know who was sending him/her the text

message.

     12. Shortly after receiving the text message on February
21, 2020, the Victim reported the incident to the Grover Beach

Police Department (the "GBPD").      As part of its investigation,

the GBPD's responding officer called the SUBJECT ACCOUNT and

left a voicemail informing the user of the SUBJECT ACCOUNT that

law enforcement was investigating a text message sent from the

SUBJECT ACCOUNT's phone number.
     13. In response, later the same day, the user of the

SUBJECT ACCOUNT sent the GBPD responding officer the following

text message:    "I called my client back and ask him to give me


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your email address which I didn't tell him what I wanted to do

with it and he gave it to me and I am using it to contact you

know [sic]. As I am writing you now my men are monitoring you

and they are telling ,me everything about you."
      14.     On the same date, the ,Victim called the FBI's

Crisis Management and Operations Center located in Los Angeles,

California, and filed a complaint, which was deemed as being a

threat-to-life.     Thereafter, I began investigating the incident

for potential violations of the Subject Offenses.

B.     FBI Determines the SUBJECT ACCOUNT is Registered to TextNow
     . and Obtains Initial Information from TextNow


      15. On February 22, 2020, I queried telephone number (859)

429-7551 (the telephone number of the SUBJECT ACCOUNT) through

FBI indices and open-source databases, which indicated that this

telephone number was being serviced by Bandwidth.com.
Subsequently, I contacted a representative of Bandwidth.com and

learned that the above-referenced telephone number was a VoIP

telephone number assigned to TextNow.
      16. On the same date, I submitted an Emergency Disclosure

Request to TextNow, inquiring about the above-referenced
telephone number.    In light of the exigency of the threat,

TextNow provided the FBI with information about several Internet

Protocol ("IP") addresses utilized by the SUBJECT ACCOUNT's
telephone number between February 21 and February 22, 2020.

This list of IP addresses included the IP address that was used
by the SUBJECT ACCOUNT at approximately 2:41 p.m. PST (22:41



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UTC) on February 21, 2020, the time that the threat-to-life text

message was received by the Victim.

     17.    TextNow also provided the FBI with basic subscriber

information for the SUBJECT ACCOUNT, including the username

(1ekan20083) and email address (lekan200@gmail.com) to which the

SUBJECT ACCOUNT was registered at the time of the threat-to-life

text message.     However, I understand from reviewing TextNow's

"Guide for Law. Enforcement" (the "LE Guide") that subscriber
information is submitted by users and TextNow does not verify or

authenticate email addresses or first and last name information.

     18. TextNow further provided information reflecting the

date and time that the user of the SUBJECT ACCOUNT had

registered for the phone number (859) 429-7551.         Specifically,

TextNow's records reflect that the user of the SUBJECT ACCOUNT

obtained this phone number at approximately 2:29 p.m. PST

(22:29:27 UTC), or approximately twelve minutes before the

threat-to-life text message was received by the Victim.

     19. According to information received from TextNow, the
user of the SUBJECT ACCOUNT ceased using phone number (859) 429-

7551 on February 26, 2020, at approximately 8:05 a.m. PST

(16:05:23 UTC).

C.   FBI Communicates Further with TextNow About Additional
     Potentially Available Information


     20. Based on my training and experience and my recent

communications with TextNow, I know that because TextNow

provides temporary telephone numbers for free, individuals can



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create and use those telephone numbers when communicating with

victims while hiding their true identities.         Because TextNow

maintains those communications with victims, I believe its

records may contain, among other things, evidence of online

criminal activity, the true identities of the user(s) of the

SUBJECT ACCOUNT, and the identity of any other victims.

     21. To that end, on February 25, 2020, I inquired with

TextNow as to what other types of information could be obtained
about a user account through.     submission of legal process.      In

response, a TextNow representative sent me TextNow's LE Guide,

which reflects numerous categories of information that TextNow

collects and retains through its platform.        Among other things,

the LE .Guide reflects that law enforcement can obtain various

types of subscriber data, phone ownership information, message

logs and text message content, call logs, voicemail content, IP

logs, and different forms of media associated with a specific

user account.

     22. On February 25 and February 26, 2020, I sent TextNow
preservation letters from the U.S. Attorney's Office for the

Central District of California requesting that information

associated with the SUBJECT ACCOUNT be preserved for 90 days

pursuant to 18 U.S.C. § 2703(f),.4


     4  In the first letter dated February 25, 2020, the
government sought preservation of all data collected and
maintained regarding the SUBJECT ACCOUNT from February 20
through February 22, 2020. Upon learning that the SUBJECT
ACCOUNT may have still been in use by the same user until
February 26, 2020, the government submitted a supplemental
preservation letter seeking preservation of all data collected
and maintained regarding the SUBJECT ACCOUNT through February

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     23. Other than what has been described herein, to my
knowledge the United States has not attempted to obtain the

contents of the SUBJECT ACCOUNT by other means.

                V.    BACKGROUND ON E-MAIL AND SOCIAL
                      MEDIA ACCOUNTS AND THE PROVIDER
     24. In my training and experience,5        I have learned that
providers of e-mail and/or social media services offer a variety

of online services to the public.        Providers, like the PROVIDER,

allow subscribers to obtain accounts like the SUBJECT ACCOUNT.

Subscribers obtain an account by registering with the provider.
During the registration process, providers generally ask their

subscribers to provide certain personal identifying information

when registering for an e-mail or social media account.          Such

information can include the subscriber's full name, physical

address, telephone numbers and other identifiers, alternative

e-mail addresses, and, for paying subscribers, means and source

of payment (including any credit or bank account number).           Some

providers also maintain a record of changes that are made to the
information provided in subscriber records, such as to any other

e-mail addresses.or phone numbers supplied in subscriber

records.   In my training and experience, such information may

constitute evidence of the crimes under investigation because


26, 2020. In addition, the government sought the preservation
of all data collected and maintained regarding any other TextNow
phone numbers used by the same username and/or email address
that had been associated with the SUBJECT ACCOUNT.
     5  All references to my training and experience herein
include my discussions and consultations with other law
enforcement investigators with specialized knowledge about
computer, cyber, and high-technology crimes.

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the information can be used to identify the user(s) of an

account.

     25. Therefore, the computers of the PROVIDER are likely to

contain stored electronic communications and information

concerning subscribers and their use of the PROVIDER's services,

such as account access information, e-mail or message

transaction information, and account application information.

In my training and experience, such information may constitute
evidence of the crimes under investigation because the

information can be used to identify the user(s) of a SUBJECT

ACCOUNT.

     26. A subscriber of the PROVIDER can also store with the•

PROVIDER files in addition to e-mails or other messages, such as

address books, contact or buddy lists, calendar data, pictures•

or videos (other than ones attached to e-mails), notes, and

other files, on servers maintained and/or owned by the PROVIDER.

In my training and experience, evidence of who was using an

account may be found in such information.
     27. In my training and experience, e-mail and social media

providers typically retain certain transactional information

about the creation and use of each account on their systems.

This information can include the date on which the account was

created, the length of service, records of login (i.e., session)

times and durations, the types of service utilized, the status

of the account (including whether the account is inactive or

closed), the methods used to connect to the account (such as

logging into the account via the provider's website), and other


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 log files that reflect usage of the account.         In addition,

 e-mail and social media providers often have records of the

 Internet Protocol ("IP") address used to register the account

 and the IP addresses associated with particular logins to the

 account.   Because every device that connects to the Internet

must use an IP address, IP address information can help to

identify which computers or other devices were used to access a

SUBJECT ACCOUNT.

      28. In my training and experience, e-mail and social media

account users will sometimes communicate directly with the

service provider about issues relating to the account, such as

technical problems, billing inquiries, or complaints from other

users.    Providers of e-mails and social media services typically

retain records about such communications, including records of

contacts between the user, and the provider's support services,

.as well records of any actions taken by the provider or user as
a result of the communications.        In my training and experience,

such information may constitute evidence of the crimes under
investigation because.the information can be used to identify

the user(s) of a SUBJECT ACCOUNT.

      29. I know from my training and experience that the

complete contents of an account may be important to establishing

the actual user who has dominion and control of that account at
a given time.     Accounts may be registered in false names or

screen names from anywhere in the world with little to no

verification by the service provider.         They may also be used by

multiple people.     Given the ease with which accounts may be


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created under aliases, and the rarity with which law enforcement

has eyewitness testimony about a defendant's use of an account,

investigators often have to rely on circumstantial evidence to

show that an individual was the actual user of a particular

account.    Only by piecing together information contained in the

contents of an account May an investigator establish who the

actual user of an account was.      Often those pieces will come

from a time period before the account was used in the criminal

activity.   Limiting the scope of the search would, in some

instances, prevent the government from identifying the true user

of the account and, in other instances, may not provide a.

defendant with sufficient information to identify other users of

the account.   Therefore, the contents of a given account,

including the e-mail addresses or account identifiers and

messages sent to that account, often provides important evidence

regarding the actual user's dominion and control of that

account.    For the purpose of searching for content demonstrating

the actual user(s) of the SUBJECT ACCOUNT, I am requesting a

warrant requiring the PROVIDER to turn over all information

associated with the SUBJECT ACCOUNT with the date restriction

included in Attachment B for review by the search team.

     30.    Relatedly, the government must be allowed to determine

whether other individuals had access to the SUBJECT ACCOUNT.           If

the government were constrained to review only a small

subsection of an account, that small subsection might give the

misleading impression that only a single user had access to the

account.


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    .31.    I also know based on my training and experience that

criminals discussing their criminal activity may use slang,

short forms (abbreviated words or phrases such as "lol" to

express "laugh out loud"), or codewords (which require entire
strings or series of conversations to determine their true

meaning) when discussing their crimes.        They can also discuss

aspects of the crime without specifically mentioning the crime

involved.    In the electronic world, it is even possible to use
pictures, images and emoticons (images used to express a concept

or idea such as a happy face inserted into the content of a

message or the manipulation and combination of keys on the

computer keyboard to convey an idea, such as the use of a colon

and parenthesis :) to convey a smile or agreement) to discuss
matters.    "Keyword searches" would not account for any of these

possibilities, so actual review of the contents of an account by

law enforcement personnel with information regarding the

identified criminal activity, subject to the search procedures

set forth in Attachment B, is necessary to find all relevant
evidence within the account.

     32.    I have also learned that providers of e-mail and

social media services often track the behavior and activities of

persons using accounts by using cookies, which are strings of

characters and numbers stored on a person's computer on their

web browser.    These cookies can often show whether more than one

account was accessed by the same computer (and specifically the

same web browser), as the provider can recognize that cookie




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when the same device returns to the service to access an
account.

  '   33.   In order to identify other accounts used or maintained

by the user of the SUBJECT ACCOUNT, the warrant also calls for
the PROVIDER to disclose both (1) any cookies associated with

the SUBJECT ACCOUNT, i.e., those cookies that were placed on any

computers or web broWsers (for example, Internet Explorer or

Google Chrome) used to access the SUBJECT ACCOUNT, and (2) the
identity of any other account in which the same cookie or

cookies used to access the SUBJECT ACCOUNT was/Were recognized.

If in the course of the investigation the digital devices used

by the subject(s) of the investigation are found, they can be

searched to determine if the cookies recognized by the provider

are stored on those devices.      The warrant also calls for the

PROVIDER to identify any other accounts accessed by any computer

or web browser using the same cookies as the SUBJECT ACCOUNT by

providing subscriber records and log-in information for those

other accounts (but not to provide the contents of
communications in those other accounts).

      34.   Users of accounts are often required to include an

e-mail account as well as a phone number in subscriber records.

The e-mail account may be an e-mail account hosted at the same

provider, or an account at a different provider.         The e-mail

account is referred to by a number of names, such as a secondary

e-mail account, a recovery e-mail account, or an alternative

e-mail account or communication channel.        That e-mail account is

often used when the identity of the user of the primary account


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(here, the SUBJECT ACCOUNT) needs to be verified, for example if

a password is forgotten, so that the provider can confirm that

the person trying to access the account is the authorized user

of the account.    Similarly, the telephone number used in

subscriber records is often used to send a passcode via text (or

"SMS") that must be presented when trying to gain access to an

account, either in a similar scenario where a user forgot his or

her password, or when users implement what is referred to as

"two-factor authentication" (where the password is one factor,

and the passcode sent via text message to a mobile device is a

second).   In either scenario, the user of a primary e-mail

account (the SUBJECT ACCOUNT) and a secondary e-mail account or

phone number listed in subscriber records are very often the

same person; or at least are close and trusted and/or working in

concert.   That is because access to either the secondary e-mail

account or to the phone number listed in subscriber records can

allow access to the primary account.

     35.   Providers also frequently obtain information about the

types of devices that are used to access accounts like the

SUBJECT ACCOUNT.    Those devices can be laptop or desktop

computers, cellular phones, tablet computers, or other devices.

Individual computers or devices are identified by a number of

different means, some of which are assigned to a particular

device by a manufacturer and connected to the "hardware" or the

physical device, some are assigned by a cellular telephone

carrier to a particular account using cellular data or voice

services, and some are actually assigned by the provider to keep


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track of the devices using its services.        Those device

identifiers include Android IDs, Advertising IDs, unique

application numbers, hardware models, operating system versions,

unique device identifiers, Global Unique Identifiers or "GUIs,"

serial numbers, mobile network information, phone numbers,

device serial numbers, Media Access Control ("MAC") addresses,

Electronic Serial Numbers ("ESN"), Mobile Electronic Identity

Numbers ("MEIN"), Mobile Equipment Identifiers ("MEID"), Mobile
Identification Numbers ("MIN"), Subscriber Identity Modules

("SIM"), Mobile Subscriber Integrated Services Digital Network

Numbers ("MSISDN"), International Mobile Subscriber Identifiers
("IMSI"), or International Mobile Equipment Identities ("IMEI").

Apple, one of the primary suppliers of mobile devices used to

access accounts like the SUBJECT ACCOUNT, had previously used an
identifier that was unique to the hardware of its devices, such

that details of a device's activity obtained from a particular
application or "app" could be used to target advertisements for

the user of that device.     Apple replaced that hardware-based

identifier with the Apple advertiser ID or IDEA that is still

unique to a particular device, but which can be wiped and re-

generated anew by a user if a user chooses to do so.           Most

users, however, do not know that the IDEA exists, and therefore

are unaware that their device's activity can be correlated
across different apps or services.       Google uses a similar

advertiser ID referred to as an AAID.

     36.   These device identifiers can then be used (a) to

identify accounts accessed at other providers by that same


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device, and (b) to determine whether any physical devices found

in the course of the investigation were the ones used to access

the SUBJECT ACCOUNT.     The requested warrant therefore asks for

the device identifiers, as well as the identity of any other

account accessed by a device with the same identifier.

     37. Providers of e-mail and social media often maintain,

have access to, and store information related to the location of

the users of accounts they service.       That information may be

obtained by the provider in a number of ways.         For example, a

user may access the provider's services by running an
application on the user's phone or mobile device, which

application has access to the location information residing on

the phone or mobile device, such as Global Positioning System
(GPS) information.     It may also be accessible through.      "check-in"

features that some providers offer that allow users to transmit

or display their location to their "friends" or "acquaintances"
via the. provider.

     38. This application seeks a warrant to search all
responsive records and information under the control of the

PROVIDER, which is subject to the jurisdiction of this court,

regardless of where the PROVIDER has chosen to store such

information.

     39. As set forth in Attachment B, I am requesting a

warrant that permits the search team to keep the original

production from the PROVIDER, under seal, until the

inveStigation is completed and, if a case is brought, that case




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is completed through disposition, trial, appeal, Or collateral

proceeding.

           a.    I make that request because I believe it might be

impossible for a provider to authenticate information taken from

a SUBJECT ACCOUNT as its business record without the original

production to examine.     Even if the provider kept an original

copy at the time of production (against which it could compare

against the results of the search at the time of trial), the

government cannot compel the provider to keep a copy for the

entire pendency of the investigation and/or case.          If the

original production is destroyed, it may be impossible for the

provider to examine a particular document found by the search

team and confirm that it waS a business record of the provider

taken from a SUBJECT ACCOUNT.

           b.    I also know from my training and experience that

many accounts are purged as part of the ordinary course of

business by providers.     For example, if an account is not

accessed within a specified time period, it -- and its contents

-- may be deleted.     As a consequence, there is a risk that the

only record of the contents of an account might be the

production that a provider makes to the government, for example,.

if a defendant is incarcerated and does not (perhaps cannot)

access his or her account.      Preserving evidence, therefore,

would ensure that the government can satisfy its Brady

obligations and give the defendant access to evidence that might

be used in his or her defense.




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                   VI.   REQUEST FOR NON-DISCLOSURE
     40. Pursuant to 18 U.S.C. § 2705(b), I request that the

Court enter an order commanding the PROVIDER not to notify any

person, including the subscriber(s) of the SUBJECT ACCOUNT, of

the existence of the warrant until further order of the Court,

until written notice is provided by the United States Attorney's

Office that nondisclosure is no longer required, or until one

year from the date the requested warrant is signed by the

magistrate judge, or such later date as may be set by the Court
upon application for an extension by the United States.           There

is reason to believe that such notification will result in:

(1) flight from prosecution; (2) destruction of or tampering

with evidence; or (3) otherwise seriously jeopardizing the

investigation.

     41. Among other things, the current investigation set

forth above, involving threats through interstate
communications, is not public, and I know, based on my training

and experience, that individuals committing cYber-enabled crime
will frequently destroy digital evidence if such individuals

learn of an investigation.      In addition, if the PROVIDER or

other person notifies the targets of the investigation that a

warrant has been issued for the SUBJECT ACCOUNT, the

unidentified subjects might further mask their activity and
seriously jeopardize the investigation.        Furthermore, the search

warrant application sets forth detailed information about the
status of the investigation, which, if revealed, would

compromise the ongoing investigation.        For example, users of any



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accounts involved in this investigation may cease using those

accounts and begin using other accounts or aliases in connection

with their illicit activities.

                            VII. CONCLUSION
     42.   Based on the foregoing, I request that the Court issue

the requested warrant.     The government will execute this warrant

by serving the warrant on the PROVIDER.        Because the warrant

will be served on the PROVIDER, which will then compile the

requested records at a time convenient to it, reasonable cause

exists to permit the execution of the requested warrant at any

time in the day or night.



                                  URIEL I. ACOSTA, Special Agent
                                  Federal Bureau of Investigation

Subscribed to and sworn before me
on February   , 2020.



HONORABLE LOUISE A. LAMOTHE
UNITED STATES MAGISTRATE JUDGE




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